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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


BODUM USA INC., and PI-DESIGN AG,

               Plaintiffs,

v.                                                       No. 1:23-cv-02946


STARBUCKS CORPORATION,

               Defendant.


                              ANSWERS TO COUNTERCLAIM

       NOW COME the Plaintiffs, Bodum USA, Inc. and Pi-Design AG (“Bodum”), and

respectfully submit this Answer in response to the Starbucks Corporation’s (“Starbucks”)

Counterclaim for Declaratory Judgment (“Counterclaims”). (Dkt. #18 ). Bodum generally denies

each and every allegation of the Counterclaim that is not expressly admitted herein. To the extent

Bodum incorporates Starbucks’s headings into this Answer, Bodum does so for organizational

purposes only and does not admit any of the allegations in Starbucks’s headings. To the extent

allegations exist in any headings that Bodum does not incorporate into this Answer, Bodum denies

the allegations in said headings. Bodum reserves the right to amend its Answer consistent with

the facts discovered in the case. Bodum hereby specifically answers the Counterclaims as follows:

                                  NATURE OF THE CLAIMS

ALLEGATION NO. 1:

        Fifteen years ago, Bodum and Starbucks settled a litigation involving a claim of trade dress
infringement (“2008 Agreement”).

ANSWER:

       Bodum admits that Bodum and Starbucks executed a settlement agreement in 2008 (“2008

Agreement”). Bodum states that the 2008 Agreement speaks for itself and denies any allegations
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contrary to the terms of the 2008 Agreement. Bodum denies the remaining allegations of

Paragraph No. 1.

ALLEGATION NO. 2:

        Now, Bodum seeks to create new terms in the 2008 Agreement that never existed –
specifically, to impose a perpetual obligation on Starbucks to purchase French press coffeemakers
exclusively from Bodum, or offer Bodum the first right of refusal for such products.

ANSWER:

       Bodum denies the allegations of Paragraph No. 2.

ALLEGATION NO. 3:

         Bodum’s new interpretation of the 2008 Agreement is not supported by the plain language
of the agreement, the intent of the Parties, or the interpretation of the agreement as evidenced in
prior litigation.

ANSWER:

       Bodum denies the allegations of Paragraph No. 3.

ALLEGATION NO. 4:

      Bodum’s Amended Complaint asks the Court to grant it exclusivity rights the Parties never
contemplated, bargained for, or agreed to.

ANSWER:

       Bodum denies the allegations of Paragraph No. 4.

                                           PARTIES

ALLEGATION NO. 5:

        On information and belief, Bodum USA Inc., is in the business of importing, distributing,
and selling housewares, including French press coffeemakers.

ANSWER:

       Bodum admits the allegations of Paragraph No. 5.

ALLEGATION NO. 6:

       Bodum product sales occur in this Judicial District.



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ANSWER:

       Bodum admits the allegations of Paragraph No. 6.

ALLEGATION NO. 7:

        On information and belief, Pi-Design AG is headquartered in Lucerne, Switzerland, and is
a subsidiary of Bodum Holding AG.

ANSWER:

       Bodum admits the allegations of Paragraph No. 7.

ALLEGATION NO. 8:

       Bodum USA is a licensee of Pi-Design AG in the United States.

ANSWER:

       Bodum admits the allegations of Paragraph No. 8.

ALLEGATION NO. 9:

        Starbucks is a corporation organized and existing under the laws of the State of Washington
with its principal place of business in Seattle, Washington.

ANSWER:

       Bodum admits the allegations of Paragraph No. 9.

                                JURISDICTION AND VENUE

ALLEGATION NO. 10:

       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)
because there is complete diversity of citizenship between the Parties, and the amount in
controversy exceeds $75,000, exclusive of interests and costs.

ANSWER:

       Bodum admits the allegations of Paragraph No. 10.

ALLEGATION NO. 11:

       Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391(b)(2)
because the events giving rise to execution of the 2008 Agreement occurred in this District.




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ANSWER:

       Bodum admits the allegations of Paragraph No. 22.

ALLEGATION NO. 23:

        Bodum’s allegations in paragraphs 18-21 of the Amended Complaint have no support in
the plain language of Section 1 of the 2008 Agreement, and was not the intent of the Parties at the
time the 2008 Agreement was negotiated and executed.

ANSWER:

       Bodum denies the allegations of Paragraph No. 23.

ALLEGATION NO. 24:

       Bodum’s allegations in paragraphs 18-21 of the Amended Complaint are also inconsistent
with Bodum’s prior representations.

ANSWER:

       Bodum denies the allegations of Paragraph No. 24.

                    Bodum’s changing interpretations of the 2008 Agreement

ALLEGATION NO. 25:

      The Amended Complaint is the first lawsuit in which Bodum construes the 2008
Agreement as an exclusivity agreement.

ANSWER:

       Bodum denies the allegations of Paragraph No. 25.

ALLEGATION NO. 26:

       In a 2019 lawsuit against Starbucks, captioned Bodum Holding AG et al v. Starbucks
Corporation, C.A. 1:19-cv-04280-ER (S.D.N.Y 2019), Bodum identified specific double-walled
glassware products it allegedly “proposed” to Starbucks, and further alleged that Starbucks
breached the 2008 Agreement by selling non-Bodum double-walled glass products because those
products
         (“2019 Lawsuit”). Id., Dkt. No. 93, ¶¶ 105–107.

ANSWER:

       Bodum admits the allegations of Paragraph No. 26.




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ALLEGATION NO. 27:

       Bodum did not allege in the 2019 Lawsuit, as it does in this Amended Complaint, that the
2008 Agreement granted Bodum exclusivity or first right of refusal with respect to French press
product offerings, or any other product developed or sold by Starbucks.

ANSWER:

       Bodum denies the allegations of Paragraph No. 27.

ALLEGATION NO. 28:

       Nor did Bodum previously claim that any of the French press coffeemakers Starbucks
sourced from other suppliers and sold over the years breached the 2008 Agreement.

ANSWER:

       Bodum denies the allegations of Paragraph No. 28.

ALLEGATION NO. 29:

        Under Bodum’s new interpretation of the 2008 Agreement, Starbucks is foreclosed in
perpetuity from offering its customers French press coffeemakers that are more affordable or of
higher quality than what Bodum may offer unless Bodum agrees that Starbucks may do so. Not
only is this not what the 2008 Agreement states, but Starbucks would never have agreed to such a
provision. No reasonable company would.

ANSWER:

       Bodum denies the allegations of Paragraph No. 29.

                                        The Espro Press

ALLEGATION NO. 30:

       Starbucks has no contractual obligation to purchase French press coffeemakers or any other
product exclusively from Bodum, or to offer Bodum the first right of refusal for the sale of any
French press coffeemaker or other product.

ANSWER:

       Bodum denies the allegations of Paragraph No. 30.

ALLEGATION NO. 31:

       In March 2022, Starbucks began selling an off-the-shelf French press coffeemaker
developed by Espro (or its parent entity Regal Ware, Inc.) (“Espro Press”).



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ANSWER:

       Bodum lacks sufficient knowledge to admit or deny the allegations of Paragraph No. 31

and therefore denies same.

ALLEGATION NO. 32:

       Starbucks has offered the Espro Press for sale at select Starbucks Reserve locations in the
United States.

ANSWER:

       Bodum admits the allegations of Paragraph No. 32.

ALLEGATION NO. 33:

        On information and belief, Espro has been offering the Espro Press for sale in the United
States from as early as June 18, 2019, and—in Canada—from as early as April 19, 2017.

ANSWER:

       Bodum lacks sufficient knowledge to admit or deny the allegations of Paragraph No. 33

and therefore denies same.

ALLEGATION NO. 34:

       On further information and belief, Bodum has asserted no violation of its intellectual
property or trade dress rights against Espro or Regal Ware, Inc. in connection with the Espro Press,
which would be expected if Bodum truly believed the press embodied Bodum’s proprietary
designs.

ANSWER:

       Bodum denies the allegations of Paragraph No. 34.

ALLEGATION NO. 35:

       The Espro Press is an off-the shelf-product, meaning Starbucks had no input in the design
or development of the Espro Press.

ANSWER:

       Bodum lacks sufficient knowledge to admit or deny the allegations of Paragraph No. 35

and therefore denies same.



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ANSWER:

       Bodum denies the allegations of Paragraph No. 40.

ALLEGATION NO. 41:

       Starbucks therefore requests a judicial determination that Section 1 of the 2008 Agreement
is unenforceable against Starbucks under Illinois law on grounds that (1) material terms of
Section 1 concerning Starbucks sale of non-Bodum products are ambiguous; (2) there was no
meeting of the minds or mutual assent to essential terms of Section 1 concerning Starbucks sale of
non-Bodum products; and (3) Section 1, as interpreted by Bodum, is an unreasonable noncompete
agreement in restraint of trade.

ANSWER:

       Bodum denies the allegations of Paragraph No. 41.

ALLEGATION NO. 42:

       Alternatively, in the event that this Court holds that the 2008 Agreement is an exclusivity
agreement or right of first refusal, which Starbucks disputes, Starbucks requests a judicial
determination that the 2008 Agreement is a contract of indefinite duration and terminable at will
under Illinois law.

ANSWER:

       Bodum denies the allegations of Paragraph No. 42.

        BODUM’S AFFIRMATIVE DEFENSES TO STARBUCKS’S COUNTERCLAIM

                                       FIRST DEFENSE

       The Counterclaim fails to state a claim upon which relief may be granted against Bodum.

                                     SECOND DEFENSE

       Starbucks’s Counterclaim is barred, in whole or in part, by the doctrine of estoppel.

                                      THIRD DEFENSE

       Starbucks’s Counterclaim is barred, in whole or in part, by the doctrine of waiver.

                                     FOURTH DEFENSE

       Starbucks’s Counterclaim is barred, in whole or in part, by the doctrine of unclean hands.




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                                      FIFTH DEFENSE

       Starbucks’s Counterclaim is barred, in whole or in part, by unjust enrichment.

     ANSWERS TO STARBUCKS CORPORATION’S AFFIRMATIVE DEFENSES

                                      FIRST DEFENSE

       The Amended Complaint fails to state a claim upon which relief may be granted against
Starbucks.

ANSWER:

       Bodum denies that the Amended Complaint fails to state a claim upon which relief may be

granted.

                                     SECOND DEFENSE

        The Amended Complaint fails because Bodum has not suffered any damage or injury as a
result of any act or conduct of Starbucks.

ANSWER:

       Bodum denies that the Amended Complaint fails and further answering, states that it has

suffered damage and injury as a result of Starbucks’s conduct.

                                      THIRD DEFENSE

       The Amended Complaint fails because Bodum’s damages, if any, were not caused, in
whole or in part, by the alleged conduct of Starbucks.

ANSWER:

       Bodum denies that the Amended Complaint fails and further answering, states that its

damages were caused by Starbucks’s conduct.

                                     FOURTH DEFENSE

       Bodum has failed to mitigate its alleged damages.

ANSWER:

       Bodum denies that it has failed to mitigate its damages.




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                                        FIFTH DEFENSE

          The Amended Complaint is barred by Bodum’s own breach of contract.

ANSWER:

          Bodum denies that the Amended Complaint is barred and/ or that Bodum breached any

applicable contract.

                                        SIXTH DEFENSE

          The Amended Complaint is barred by the doctrine of estoppel.

ANSWER:

          Bodum denies that the Amended Complaint is barred by the doctrine of estoppel.

                                      SEVENTH DEFENSE

          The Amended Complaint is barred by Bodum’s unclean hands.

ANSWER:

          Bodum denies that the Amended Complaint is barred by unclean hands.

                                      EIGHTH DEFENSE

          The Amended Complaint is barred by waiver and/or laches.

ANSWER:

          Bodum denies that the Amended Complaint is barred on the grounds of waiver and/or

laches.

                                       NINTH DEFENSE

        The Amended Complaint is barred due to no meeting of the minds with respect to the
essential terms of Section 1 of the 2008 Agreement.

ANSWER:

          Bodum denies that the Amended Complaint is barred by a lack of meeting of the minds.

Answering further, Bodum states the 2008 Agreement is enforceable per the plain language of the

contract.


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                                      TENTH DEFENSE

       The Amended Complaint is barred due to ambiguity of the essential terms of Section 1 of
the 2008 Agreement.

ANSWER:

       Bodum denies that the Amended Complaint is barred due to an ambiguity of the essential

terms of Section 1 of the 2008 Agreement. Answering further, Bodum states that the 2008

Agreement is enforceable per the plain language of the contract.

                                    ELEVENTH DEFENSE

      The Amended Complaint is barred because Section 1 of the 2008 Agreement, as interpreted
by Bodum, constitutes an unenforceable restraint of trade.

ANSWER:

       Bodum denies that the Amended Complaint is barred or that the 2008 Agreement is an

unenforceable restraint of trade.

                                     TWELFTH DEFENSE

       The Amended Complaint is barred on grounds of unilateral or mutual mistake. A basic
premise of the 2008 Agreement was that Bodum could produce evidence that the Chambord
French Press had acquired a secondary meaning, when in fact it could not do so at that time.

ANSWER:

       Bodum denies that Count III of the Third Amended Complaint is barred on the grounds of

unilateral and/or mutual mistake.

                                    THIRTEENTH DEFENSE

        The Amended Complaint is barred on grounds that Section 1 of the 2008 Agreement, as
interpreted by Bodum, is an agreement in perpetuity that is terminable at will.

ANSWER:

       Bodum denies that the Amended Complaint is barred on the grounds that Section 1 of the

2008 Agreement, is an agreement in perpetuity that is terminable at will.




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Dated: July 5, 2023                   Respectfully submitted,

                                      By: /s/ Nicole J. Wing
                                          Nicole J. Wing

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